                 Case 1:18-cr-00328-KPF Document 353 Filed 04/01/20 Page 1 of 4




(212) 373-3311

(212) 492-0311

rfinzi@paulweiss.com




           April 1, 2020



           BY EMAIL/ECF
           The Honorable Katherine Polk Failla
           United States District Judge
           Southern District of New York
           40 Foley Square
           New York, NY 10007
                                  United States v. Anilesh Ahuja, 18 Cr. 328 (KPF)
           Dear Judge Failla:

                         We write to briefly address certain arguments raised for the first time in the
           government’s reply in support of its restitution submission. Mr. Shor joins in this letter.
                           First, the government submitted brief summaries of its six “comparator”
           hedge funds obtained from BarclayHedge. Citing these summaries, the government claims
           that its selected funds were “pursuing similar RMBS investment strategies” to MCF and
           NIOF during the relevant period. (Gov’t Reply Letter at 5.) The BarclayHedge summaries
           do not support that conclusion; rather, they serve as additional evidence that the
           government’s restitution calculation is unsound.
                          As a threshold issue, it would be impossible for these six funds to pursue
           “similar” strategies to both MCF and NIOF. As cooperating witness Ashish Dole
           explained, NIOF “had a different strategy” from MCF: NIOF invested primarily in newly
           issued whole loans and RMBS originated and securitized by PPI itself, whereas MCF
           mostly invested in legacy (i.e., pre-financial crisis) RMBS sold by third parties. (Trial Tr.
           254:12-21 (emphasis added), 832:24–35:11.) Each fund held investments with different
           attributes and risk profiles, including different deal terms and exposure to distinct
           categories of borrowers and collateral. Unsurprisingly, the two strategies performed quite
           differently—prior to the restatement period beginning September 2015, MCF had positive
           returns, while NIOF had negative returns. (Ahuja Restitution Letter, Ex. 7; DX 1064-A.)
     Case 1:18-cr-00328-KPF Document 353 Filed 04/01/20 Page 2 of 4

Honorable Katherine Polk Failla


Given their divergent strategies, one cannot use the performance of one fund as a proxy for
what the other fund’s performance would have been absent mismarking. By the same
logic, one cannot use the same fund (or set of funds) as a proxy for what both MCF’s and
NIOF’s performance would have been absent mismarking.
                More fundamentally, the BarclayHedge summaries contain scant
information on the six identified funds, and what little information is provided suggests
that they did not pursue “similar” strategies to either MCF or NIOF.1 Only half of the six
are even categorized as “Mortgage Backed” funds, a category that includes commercial
and residential mortgage-backed securities (CMBS and RMBS). (Gov’t Reply Letter, Ex.
A.) And nearly all of the funds’ strategies include investing in non-RMBS assets such as
asset-backed securities, CMBS, collateralized debt obligations, collateralized loan
obligations, insurance-linked securities, consumer loans, corporate bonds, and others. (Id.)
Neither MCF nor NIOF had significant holdings in any of these types of assets.
                As with all hedge funds, the performance of PPI’s funds was driven by the
composition of their portfolios. But nothing in the BarclayHedge summaries suggests that
the six identified funds invested in, as the government asserts, “comparable RMBS . . .
during the same period.” (Gov’t Reply Letter at 2.) Nothing suggests these funds invested
primarily in a mix of subprime, agency, and pay-option adjustable-rate RMBS, as MCF
did, or primarily in a mix of new-issue whole loans and subordinate and interest-only
RMBS, as NIOF did. Nothing indicates these six funds were highly exposed to leveraged
legacy assets with limited “carry” (or income), like MCF was. (Trial Tr. 2404:19-24
(Majidi).) These were securities that PPI’s employees and investors referred to as
especially illiquid (Trial Tr. 2410:10-16 (Majidi), 3182:24–3183:4 (Gayeski)), and which
only a “few funds” were buying in any quantities at the time (2411:15-18 (Majidi)). In
fact, the government’s chosen funds may have avoided losses by not investing in such
assets; for example, the BarclayHedge description for Metacapital states that it “focus[es]
on the senior classes of securitization and/or those loan pools that have lower leverage
characteristics.” (Gov’t Reply Letter, Ex. A (emphases added).)2


1
    Nor does anything in the BarclayHedge summaries indicate that the investment returns
    the government used for these six funds—funds perceived by a SkyBridge analyst to
    be using “fantasy marks”—were audited or otherwise verified. Indeed, SkyBridge’s
    senior portfolio manager testified that he “believe[d] there have been several SEC
    investigations recently on one of the firms.” (Trial Tr. 3237:8-10.)
2
    The government contends that the cross-examination of witnesses by Mr. Ahuja’s
    counsel shows that Mr. Ahuja understood certain of these funds to be “competitor
    RMBS hedge funds.” (Gov’t Reply Letter at 4.) But whether PPI viewed certain funds
    as competitors says nothing about whether those funds are appropriate proxies for how
    PPI’s portfolios would have performed absent mismarking. Mr. Ahuja explained in his
    restitution submission—and the government does not contest—how two different
    RMBS investments, like two different public stock investments, can perform very
    differently over the same time period, which could account for most or even all of the
    difference between the performance of PPI’s funds and the performance of other funds.

                                             2
     Case 1:18-cr-00328-KPF Document 353 Filed 04/01/20 Page 3 of 4

Honorable Katherine Polk Failla


                The BarclayHedge exhibit only further establishes that the government’s
proposal fails to “disentangle[] those elements” of PPI investors’ losses that resulted from
legitimate factors. United States v. Gushlak, 728 F.3d 184, 197 (2d Cir. 2013). While the
government cites Gushlak to argue that it need only arrive at a “reasonable estimate” of
loss, it ignores what the Second Circuit found necessary to arrive at such an estimate: a
“sound methodology” that excludes losses caused by legitimate factors such as risks
specific to (i) the overall market, (ii) the relevant industry, and (iii) the company itself
(other than fraud). Id. at 201. Because it has not shown how its proposal excludes the risk
of loss from non-fraud factors specific to each of the MCF and NIOF portfolios, the
government’s proposal does not rest on a sound methodology.
                Second, the government with its reply submitted a new expert analysis
purporting to show why one of Mr. Ahuja’s proposed methods for calculating losses is
deficient. In his submission, Mr. Ahuja argued that if the Court decides that “investment
losses” must be part of restitution, those losses should be determined by calculating the
difference between (i) PPI’s original returns and (ii) PPI’s restated returns. Unlike the
government’s proposal, this methodology would properly exclude any factors causing
PPI’s losses other than fraud, because it would compare the performance of PPI’s portfolios
with mismarking to the performance of those same portfolios without mismarking.
                The government now claims this analysis is flawed because ending it one
month earlier—February 2016, as opposed to March 2016—results in $38.3 million more
loss. The government appears to be saying that all of MCF’s negative returns in March
2016 were due to mismarking because that is when “PPI began to engage in a fire sale
when the fraud began to unravel.” (Gov’t Reply Letter at 6–7.) But the government cites
nothing to support that conjecture, and as Mr. Ahuja has shown, there is good reason to
believe that much of the loss in March 2016 was due to investment performance rather than
a fire sale. (Ahuja Restitution Letter at 8.) And to the extent that the government—
incorrectly—argues that Mr. Ahuja’s proposal is deficient because it understates losses by
$38 million, it concedes that its own proposal overstates losses by over $60 million.3
               Finally, the government’s reply advances two new evidentiary arguments,
neither of which have merit.
                Citing to two exhibits that it claims show that MCF was mismarked by
$100+ million, the government says that its loss estimate for MCF is “supported by the
trial evidence.” (Gov’t Reply Letter at 2.) As Mr. Ahuja has shown, those exhibits—a
March 2016 spreadsheet created by Ashish Dole and an E&Y memo—do not show that
MCF was mismarked by $100+ million. Dole’s spreadsheet reflected only his subjective

3
    The government also asserts that Mr. Ahuja’s investment loss proposal is “not logical”
    because it “assumes investors would have remained invested in PPI had they known
    about the fraud.” (Gov’t Reply Letter at 6.) Not so—Mr. Ahuja’s proposal assumes
    that PPI investors would have remained invested in PPI if there had been no fraud.
    The proposal compares PPI’s returns with mismarking to PPI’s returns without
    mismarking to estimate how much of PPI’s losses were due to fraud rather than
    legitimate factors. That is the goal of any sound restitution methodology. See Gushlak,
    728 F.3d at 197; Ahuja Restitution Letter at 7 (collecting cases).

                                             3
       Case 1:18-cr-00328-KPF Document 353 Filed 04/01/20 Page 4 of 4

Honorable Katherine Polk Failla


opinions as to where MCF’s securities could be sold, and those opinions were unreliable,
as evidenced by the independent third-party quotes in the same spreadsheet assigning far
higher values to the same securities. (Tr. 1226:21–1227:1 (Dole); GX 1579-A.) And the
E&Y memo—showing the amount of restatement, not mismarking—was not limited to
MCF, but rather covered securities across three PPI funds. (GX 522 at 6.) More
importantly, as the Court noted when striking the $100 million allegation from the PSRs,
that figure is “not a loss” and only “confuses the loss issue.” (Shor Sentencing Tr. at 112.)
The amount of mismarking in MCF at one point in time has no bearing on the amount
that MCF investors lost. Their holdings had real values, no matter what marks PPI
assigned securities, and those values decreased only when MCF realized actual losses.
                Next, the government’s bald assertion that PPI investors had no visibility
into their investments is flatly contradicted by objective, indisputable evidence. The
government claims that the fact that PPI made security-level disclosures to investors is
“belied by the record” (Gov’t Reply Letter at 4), without explaining how. It says that such
disclosures were “first made around March 2016” (id.), ignoring at least two documented
instances of investors reviewing materials specifically listing each individual security held
by the fund in January 2016 and 2014 (Ahuja Restitution Letter at 6 n.2). Indeed, as part
of their periodic due diligence, investors reviewed valuation committee documents, which
included security-level valuations. And—as the government does not contest—PPI
investors had access to detailed monthly disclosures on the composition of PPI’s portfolios
and the specific types of RMBS in which they were invested. The government also
contends that investors were falsely told that MCF was rotating out of subprime into agency
securities. But the government never proved this allegation. To the contrary, as reflected
in the monthly investor disclosures, there was a rotation: the percentage of MCF’s portfolio
allocated to (and thus investors’ exposure to) subprime RMBS decreased and agency
RMBS increased substantially in MCF’s final months.4
              For these reasons, we respectfully request that the Court reject the
government’s proposed restitution calculation. If restitution is to be awarded, the Court
should adopt one of the proposals set forth in Mr. Ahuja’s February 28 letter.
                                        Respectfully submitted,




                                        Roberto Finzi
                                        Richard C. Tarlowe
cc:      Counsel of Record




4
      See Ahuja Restitution Letter, Ex. 3 at 2, DX 911-A at 2, DX 913-A at 2 (reports
      reflecting that MCF’s agency allocation increased nearly 12% and subprime allocation
      decreased 13% from September 2015 through February 2016, with a 4% agency
      increase and 8% subprime decrease in first two months of 2016 alone).

                                             4
